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                Annex 14
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               Exhibit E
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                                          [TRANSLATION]

0:45 – [Background noise on Skype that sounds like an explosion]

0:48 – [           ] Oh gosh.

0:50 – [Indistinguishable voices on Skype in different languages]

0:52 – [                        in English]1 Yes.

0:59 – [                        in English] We have to go back.

[Speech unclear]

1:05 – [           ] What’s happening on your end?

1:12 – [                        ] Yes, yes.

1:13 – [           ] What’s happening on your end?

1:18 – [                                                ] C’mon, c’mon! To the house! Turn
        around! Turn around! Turn around! Let us go to our house!

[                      ] It came out.2

[                                    ] Come here! Stay here! Stay here! Come here fast!

1:39 – [               ] Come here right away.

1:51 – [               ] Ok

1:54 – [               ] One moment, one moment, one moment!

1:58 – [                        in English] Just one bag.

2:00 – [Background noise on Skype that sounds like an explosion]

2:02 – [               ] C’mon, brother.

2:04 – [               ] Go! Go!

2:34 – [               ] Yes, yes. [Speech unclear]

2:36 – [                        in Arabic] C’mon c’mon quickly, come, come here!

1
       Translator’s Note: Unless otherwise indicated, the original language is Arabic.
2
       Clarification by            : Usually residents or activists use the term “it came out”, which
       means that the shell has come out of the cannon and the sound of its whistle has been heard. The
       person here says that the shell has been fired, urging the activists to take cover.




                                                    1
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                                       [TRANSLATION]

[                     in English] Come here, come here, beside me!

3:12 – [Skype disconnects, typing in the background and attempts to call again]

3:36 – [Indistinguishable voices on Skype]

3:38 – [              ] Get up, get up and stand up!

3:50 – [          ] Abu Abdo what’s happening?

3:54 – [Indistinguishable voices on Skype]

3:55 – [          ] Abu Abdo?

3:58 – [Background noise on Skype that sounds like an explosion]

4:00 – [              in English] We’ll get help, everyone ok?

4:03 – [Indistinguishable voices yelling on Skype, including a woman’s voice shouting
        something indecipherable]

4:08 – [              ] Ok, did anyone go outside here?

4:10 – [          ] Abu Abdo?

4:12 – [                  ] No, no.

4:15 – [Speech unclear]

4:19 – [              in English] No, no, I told you to leave him! [Speech unclear]

4:40 – [Background noise on Skype that sounds like an explosion; indistinguishable voices]

4:44 – [              in English] No, I’m hit. I need a tourniquet on my leg.

4:50 – [              in English] I can’t move!

4:57 – [              in English] I need a tourniquet around my leg!

4:58 – [Background noise on Skype that sounds like a big explosion; indistinguishable voices]

5:00 – [              in English] No, no, wait! Move up to that side wall. Come on! Come on!

5:15 – [Camera pans to computer clock, which indicates that the time is 9:39 am and the date
        February 22, 2012]

5:20 – [                     in English] Come on Paul, try to come.

5:21 – [               in English] I can’t move!



                                                  2
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                                        [TRANSLATION]

5:26 – [               in English] She’s bleeding.

5:29 – [               ] [Speech unclear]

5:39 - [              ] It came out, it came out

5:46 – [Background noise on Skype that sounds like an explosion; a woman’s voice screaming
        something indecipherable]

5:47 – [           ] Oh my God.

5:59 – [Indistinguishable voices shouting on Skype]

6:01 – [               in English] Are you ok?

6:16 – [Indistinguishable voices on Skype]

6:17 – [           ] Abu Abdo, who’s here? Who can hear me?

6:35 –                         ] Here! Here!

6:48 – [               ] Come! Come!

7:04 – [Speech unclear]

7:05 – [Background noise sounding like a big explosion and indistinguishable voices on Skype]

7:06 – [               in English] Go, go, go!

7:08 – [               in English] Let me inside! Let me inside!

7:10 – [           ] This is the guys’ house, it’s the Media Center.

7:15 – [Speech unclear]

7:16 – [              ] Where to? Here?

7:17 – [                      ] We have to pull out the man.

7:19 – [                   ] Where to? Here?

7:20 – [                      ] Inside here.

7:36 – [Background noise and indistinguishable voices on Skype]

7:50 – [Background noise on Skype that sounds like an explosion]

8:06 – [Skype disconnecting]




                                                   3
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                                          [TRANSLATION]

8:13 – [                                                                        ] Is that from us or from
        them?

8:15 – [           ] From them.

8:18 – [Skype reconnects]

8:36 – [Background noise on Skype that sounds like an explosion]

8:37 – [           ] Oh my God! Oh my God!

9:06 – [Background noise and indistinguishable voices on Skype]

9:11 – [                       ] Here, here.

9:28 – [Written Skype Chat with “Basma En-aljazara”]:

Omar                      I am speaking with the guys, voice
                          They were just hit by a bomb, damn your father Bashar
                          I can’t bear it anymore
                          May god protect them
                          I swear they have been hit by several shells this second
                          He said they wanted to take photos

Basma En-aljazara         God protect them and damn Bashar
                          You’ve received several emails from journalists [illegible] do you want
                          me to open them for you and copy/paste or ignore them

Omar                      Read them and reply to those that require a response

Basma En-aljazara         [In English]3 Hi,
                          I am journalist in paris and i work for a French weekly magazine
                          named grazia , and I try to get contact with people in Homs, to collect
                          stories.
                          Is it possible to talk to you on skype ?
                          Thanks a lot.

9:31 – [Background noise on Skype that sounds like an explosion] [written Skype Chat with
“Basma En-aljazara”]:

Omar                      [In English] yea and this is my skype: “freedom_homs
                          [In Arabic] I up and got the camera and I am recording the sound
                          There is no might and no power but in God4

3
       Translator’s Note: All irregular punctuation, capitalization, and spelling in English text of written
       Skype chats is in the original.




                                                    4
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                                        [TRANSLATION]


                         The guys are stuck together [illegible] I heard the sound of explosions
                         hitting the house.

Basma En-aljazara        [In English] Dear Elsa, Thanks for your email. You can contact me
                         anytime on my skype (freedom.homs). Thanks, Omar
                         [sad emojis]

Omar                     Someone got hit.
                         There are screams.
                         The foreigners were shouting.

Basma En-aljazara        [In Arabic using Latin script] Oh my God!!!!

Omar                     No one is answering me.

Basma En-aljazara        [In Arabic using Latin script]
                         May God help them!
                         I hope no one is hurt…
                         [In Arabic using Arabic script]
                         What is going on?

Omar                     [In Arabic] I don’t know, no one is answering me. But someone got hit
                         and someone else was shouting come here come here and someone was
                         responding [in English] i can’t.

Basma En-aljazara        May God help them!
                         Do you still hear anything?

Omar                     It got disconnected now
                         And the shelling on us continues to my knowledge
                         They are [unclear] to the room inside, a missile [unclear] the laptop
                         and it was very loud. Oh my God! May god help them!


10:46 – [           ] It seems as though someone has been hit, by the way.

10:49 – [                                               ] It could be the female journalist.

10:56 – [           ] Yeah. Might be the male journalist who was with her, Paul.

11:32 – [                      ] What’s his name? Come here, come here.


4
       Translator’s Note: This is a common expression that is typically used in the Arab world when
       circumstances are beyond a person’s control.




                                                  5
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                                        [TRANSLATION]

11:37 – [                     ] We need a car… for the injured... two seriously injured.

11:40 – [                  ] I’m going to get a car.

[Speech unclear]

11:45 – [                     ] And Hassan? He is not here, no?

11:52 – [                  ] [Speech unclear]

11:55 – [          ] Abu Hanin, who was hit?

12:03 – [          ] Abu Hanin, who was hit?

12:10 – [                  ] The female journalist.

12:12 – [          ] There is no might and no power but in God.

12:15 – [          ] Are her injuries critical?

12:19 – [                  ] They died, man.

12:22 – [                     ] Who is on the line with me? Who?

12:23 – [          ] Abu Omar, Abu Omar!

12:25 – [                     ] Abu Omar?

12:26 – Yes.

12:27 – [                     ] Abu Omar?

12:28 – [          ] Yes, yes, yes.

12:28 – [                     ] The house was hit, Abu Omar, the female journalist, there are
two who died, do not publish the news.

12:33 – [          ] They’re entirely dead?

12:34 – [                     ] [Speech unclear] There is another one with her, he came
yesterday.

12:38 – [                  ] Marie died, yes.

12:39 – [          ] Marie, the one from the Sunday Times?

12:46 – [Unidentifiable Skype speakers] Yes.

13:09 – [          ] Our house was shelled.



                                                  6
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                                        [TRANSLATION]

13:10 – [                                              ] swear!

13:14 – [          ] Two journalists died.

13:15 – [                                              ] Which one, the older woman?

13:23 – [          ] - Yes yes yes, Marie, from the Sunday Times.

13:25 – [                                              ] She died?

13:26 - [          ] She died.

13:29 – [                                              ] And who else?

13:30 – [          ] I don’t know.

13:38 – [          ] Abu Hanin!

13:43 – [          ] Abu Hanin, film it now, film it, film it!

13:51 – [                                              ] Was the satellite hit?

13:52 – [          ] No.

14:03 – [Indistinguishable voices on Skype]

14:13 – [          ] In in . . . ?

[Speech unclear]

15:50 – [Written Skype chat with “Basma En-aljazara”]:

Omar                       It got disconnected now
                           And the shelling on us continues to my knowledge
                           They are moving to the room inside, a missile next to the laptop and it
                           was very loud.
                           Don’t disseminate, but two journalists are dead
                           They just responded to me

Basma                      What!!!!

Omar                       [illegible] from Sunday Times and another journalist [illegible]
                           Marie
                           But don’t disseminate

Basma                      Dead? Are you sure?

Omar                       Do not know who was hit



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                                       [TRANSLATION]


Basma                      I won’t disseminate

Omar                       Among the guys
                           Still maybe they are rescuing

Basma                      My God!!
                           So maybe they are not dead???

Omar                       I don’t know they asked me not to disseminate yet
                           For now they are trapped inside the house


[Indistinguishable voices on Skype]

16:54 – [                      ] Guys, hurry up, hurry up.

16:55 – [                                              ] Abu Omar [speech unclear]

17:06 – [Background noise on Skype that sounds like an explosion]

17:15 – [                                              ] Which floor was hit by the bomb?

17:16 – [           ] First.

17:20 – [           ] Yes yes but they were hit by multiple rockets.

17:20 – [                                              ] [Speech unclear]

17:23 – [           ] Downstairs, downstairs. But brother, if the first rocket hit, and then the
second rocket, and then third rocket, what, what, see ... the shrapnel gets in. And [speech
unclear] Um Mahmoud Al-Eter’s house was destroyed, our next-door neighbor to the right, so
that wall is exposed by the way.

[Skype disconnects]

17:43 – [                                              ] Why the camera?

17:44 – [           ] I’m filming, documenting what is being said.

18:06 – [                                              ] [Speech unclear]

18:13 – [                                              ] Loosen it, loosen it, loosen it, loosen it,
loosen it, loosen it the same one, the same handle.

18:48 – [           ] He stopped it. He hung up.




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                         ‫‪[ - 03:12‬إنقطاع سكيب‪ ،‬طباعة في الخلفية و محاوالت معاودة االتصال]‬

                                               ‫‪] - 03:36‬أصوات عبر سكايب ال يمكن تمييزها]‬

                                                 ‫] قوم‪ ،‬قوم أقف!‬                  ‫‪[ - 03:38‬‬

                                                        ‫] أبو عبدو شو في؟‬         ‫‪[ - 03:50‬‬

                                               ‫‪] - 03:54‬أصوات عبر سكايب ال يمكن تمييزها[‬

                                                               ‫] أبو عبدو؟‬        ‫‪[ - 03:55‬‬

                                    ‫‪] - 03:58‬صوت في خلفية مكالمة سكايب يبدو وكأنه انفجار]‬

                ‫باإلنجليزية] ?‪We’ll get help, everyone okay‬‬                        ‫‪- 04:00‬‬

            ‫‪] - 04:03‬أصوات ال يمكن تمييزها عبر سكايب بما فيه صوت صراخ امرأة غير واضح]‬

                                          ‫] أوك في حد طلع هون؟‬                    ‫‪[ - 04:08‬‬

                                                               ‫] أبو عبدو؟‬        ‫‪[ - 04:10‬‬

                                                           ‫] ال‪ ،‬ال‪.‬‬              ‫‪[ - 04:12‬‬

                                                                   ‫‪] - 04:15‬كالم غير واضح[‬

‫باإلنجليزية] !‪[ No, no, I told you to leave him‬كالم غير واضح]‬                      ‫‪- 04:19‬‬

             ‫‪] - 04:40‬صوت في خلفية مكالمة سكايب يبدو وكأنه انفجار؛ أصوات ال يمكن تمييزها[‬

     ‫باإلنجليزية]‪No, I’m hit. I need a tourniquet on my leg.‬‬                      ‫‪] - 04:44‬‬

                                    ‫باإلنجليزية] !‪I can’t move‬‬                    ‫‪] - 04:50‬‬

             ‫باإلنجليزية] !‪I need a tourniquet around my leg‬‬                      ‫‪] - 04:57‬‬

         ‫‪] - 04:58‬صوت في خلفية مكالمة سكايب يبدو وكأنه انفجار كبير؛ أصوات ال يمكن تمييزها[‬

‫باإلنجليزية] ‪No, no, wait! Move up to that side wall. Come‬‬                        ‫‪] - 05:00‬‬
                                                                             ‫!‪on! Come on‬‬

                         ‫‪] - 05:15‬الكاميرا موجهة إلى الساعة التي تبين ‪ ٩:٣٩‬ص ‪]٢٠١٢/٢/٢٢‬‬

                   ‫باإلنجليزية] ‪Come on Paul, try to come.‬‬                        ‫‪[ - 05:20‬‬


                                          ‫‪2‬‬
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                                         ‫باإلنجليزية] !‪I can’t move‬‬                    ‫‪- 05:21‬‬

                                   ‫باإلنجليزية] ‪She’s bleeding.‬‬                       ‫‪[ - 05:26‬‬

                                                ‫] [كالم غير واضح]‬                     ‫‪[ - 05:29‬‬

                                                     ‫] طلعت‪ ،‬طلعت‬                     ‫‪[ - 05:39‬‬

              ‫‪[ - 05:46‬صوت في خلفية مكالمة سكايب يبدو وكأنه انفجار وصراخ امرأة غير واضح]‬

                                                                         ‫] يا هللا‪.‬‬   ‫‪[ - 05:47‬‬

                                          ‫‪[ - 05:59‬أصوات صراخ عبر سكايب ال يمكن تمييزها]‬

                                       ‫باإلنجليزية] ?‪Are you ok‬‬                       ‫‪[ - 06:01‬‬

                                                  ‫‪] - 06:16‬أصوات عبر سكايب ال يمكن تمييزها[‬

                                           ‫] أبو عبدو‪ ،‬مين هون؟ مين سمعني؟‬            ‫‪[ - 06:17‬‬

                                                     ‫] هون! هون!‬                      ‫‪[ - 06:35‬‬

                                                          ‫] تعا! تعا!‬                 ‫‪[ - 06:48‬‬

                                                                        ‫‪] - 07:04‬كالم غير واضح[‬

‫‪] - 07:05‬صوت في خلفية مكالمة سكايب يبدو وكأنه انفجار كبير وأصوات عبر سكايب ال يمكن تمييزها]‬

                                                    ‫] !‪Go, go, go‬‬                     ‫‪[ - 07:06‬‬

                    ‫باإلنجليزية] !‪Let me inside! Let me inside‬‬                        ‫‪[ - 07:08‬‬

                                           ‫] بيت الشباب هاد المكتب اإلعالمي‪.‬‬          ‫‪[ - 07:10‬‬

                                                                        ‫‪[ - 07:15‬كالم غير واضح]‬

                                                      ‫] لوين؟ لهون؟‬                   ‫‪[ - 07:16‬‬

                                               ‫] بدنا نسحبو للزلمي‪.‬‬                   ‫‪[ - 07:17‬‬

                                                         ‫] لوين؟ لهون؟‬                ‫‪[ - 07:19‬‬

                                                       ‫] لجوا لهون‬                    ‫‪[ - 07:20‬‬

                               ‫‪[ - 07:36‬ضجيج في الخلفية وأصوات عبر سكايب ال يمكن تمييزها]‬

                                           ‫‪3‬‬
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                                       ‫‪[ - 07:50‬صوت في خلفية مكالمة سكايب يبدو وكأنه انفجار]‬

                                                                          ‫‪[ - 08:06‬انقطاع االتصال]‬

    ‫] هل هذا من عندنا أو من عندهم؟‬                                                             ‫‪[ - 08:13‬‬

                                                                          ‫] عندهم‪.‬‬             ‫‪[ - 08:15‬‬

                                                        ‫‪] - 08:18‬المكالمة سكيب تستمر مرة أخرى]‬

                                       ‫‪[ - 08:36‬صوت في خلفية مكالمة سكايب يبدو وكأنه انفجار[‬

                                                                  ‫] يا هللا ! يا هللا!‬         ‫‪[ - 08:37‬‬

                                ‫‪[ - 09:06‬ضجيج في الخلفية وأصوات عبر سكايب ال يمكن تمييزها]‬

                                                        ‫] هون‪ ،‬هون‪.‬‬                            ‫‪[ - 09:11‬‬

                                ‫‪] - 09:28‬محادثة خطية عبر سكيب مع ”‪:[“Basma En-aljazara‬‬


                                              ‫عم احكي الشباب صوت‬                              ‫‪Omar‬‬
                                    ‫هلق اكلو قذيفة يلعن ابوك يا بشار‬
                                                              ‫رح طق‬
                                                             ‫هللا حماهن‬
                                ‫وهللا صاروا اكلين كذا قذيفة بها اللحظة‬
                                                     ‫قال بدون يصور‬

                                  ‫هللا يحميهن ويلعن إبن الحرام بشار‬                      ‫‪Basma En-‬‬
‫وصلك كذا ايميل من صحفيين ]غير واضح[ إفتحلك ياهن اعملك نسخ‪/‬لزق‬                               ‫‪aljazara‬‬
                                                         ‫او طنشن‬

                                           ‫شوفيون واللي بدو رد ردي‬                            ‫‪Omar‬‬

                                                            ‫‪Hi,‬‬                          ‫‪Basma En-‬‬
                      ‫‪I am journalist in paris and i work for a‬‬                             ‫‪aljazara‬‬
                     ‫‪french weekly magazine named grazia ,‬‬
                        ‫‪and I try to get contact with people in‬‬
                                       ‫‪Homs, to collect stories.‬‬
                       ‫? ‪Is it possible to talk to you on skype‬‬
                                                   ‫‪Thanks a lot.‬‬

                                              ‫‪4‬‬
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‫‪[- 09:31‬صوت في خلفية مكالمة سكايب يبدو وكأنه انفجار] [محادثة خطية عبر سكيب مع ‪“Basma‬‬
                                                                       ‫”‪:]En-aljazara‬‬


                 ‫‪yea and this is my skype : “freedom_homs‬‬                     ‫‪Omar‬‬
                               ‫قمت جبت الكاميرا وعم سجل الصوت‬
                                        ‫ال حول وال قوة إلى باهلل‬
            ‫الشباب إتحشرو سوى]…[عم أسمع صوت القذف على البيت‬

                           ‫‪Dear Elsa, Thanks for your email.‬‬             ‫‪Basma En-‬‬
                          ‫‪You can contact me anytime on my‬‬                  ‫‪aljazara‬‬
                            ‫‪skype (freedom.homs). Thanks,‬‬
                                                      ‫‪Omar‬‬
                                                ‫]‪[sad emojis‬‬

                                                  ‫في حدى إتصاوب‪.‬‬              ‫‪Omar‬‬
                                                       ‫في صياح ‪.‬‬
                                           ‫هدول االجانب صوتون على‬

                                                         ‫!!!!‪ya allah‬‬    ‫‪Basma En-‬‬
                                                                            ‫‪aljazara‬‬

                                                   ‫ما حدى عم بيرد علي‪.‬‬        ‫‪Omar‬‬

                                             ‫!!‪ya rab alla yistor‬‬        ‫‪Basma En-‬‬
                                  ‫…‪inshalla ma7ada sarlou shi‬‬               ‫‪aljazara‬‬
                                                     ‫شو صاير؟؟؟‬

                                        ‫ما بعرف‪ ،‬ما حدا عم بيرد علي‬           ‫‪Omar‬‬
                                               ‫بس في حدى إتصاوب‪.‬‬
       ‫وفي حدى كان عم بيعيط كم هير كم هير والتاني كان بيرد اي كانت‬
                                                            ‫‪i can’t‬‬

                                               ‫هللا يستر لسة في صوت‪.‬‬     ‫‪Basma En-‬‬
                                                                            ‫‪aljazara‬‬

                                                               ‫هلق فصل‬        ‫‪Omar‬‬
                                             ‫وضرب القذائف علينا شغال‪.‬‬
                                   ‫وفي حدي عم ]غير واضح[علغرفة لجوا‬
        ‫صواريخ ]غير واضح[ الالبتوب صوتو قوي كتير يا هللا! هللا يستر‬

                                               ‫‪5‬‬
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                                             ‫] كأنو في أحد إتصاب على فكرة‬              ‫‪[ - 10:46‬‬

                                 ‫] ممكن تكون الصحفية‬                                   ‫‪[ - 10:49‬‬

                                   ‫] اه‪ ،‬يمكن الصحفي الشاب إلي معها‪ ،‬بول‬               ‫‪[ - 10:56‬‬

                                        ‫] شو إسمه؟ تعالى تعالى‬                         ‫‪[ - 11:32‬‬

                           ‫] بدنا سيارة ‪ ...‬للجرحى تنين خطيرين‬                         ‫‪[ - 11:37‬‬

                                                  ‫] رايح جيب سيارة‬                     ‫‪[ - 11:40‬‬

                                                                                 ‫[كالم غير واضح]‬

                                         ‫[ وحسن؟ منو هون ما؟‬                           ‫‪[ - 11:45‬‬

                                                     ‫[ [غير واضح]‬                      ‫‪[ - 11:52‬‬

                                                   ‫] أبو حنين مين إتصوب؟‬               ‫‪[ - 11:55‬‬

                                                   ‫] أبو حنين مين إتصوب؟‬                ‫‪- 12:03‬‬

                                                         ‫[ الصحفية‬                     ‫‪[ - 12:10‬‬

                                                   ‫] ال حول وال قوة إال باهلل‬          ‫‪[ - 12:12‬‬

                                                         ‫[ اصابات خطيرة؟‬               ‫‪] - 12:15‬‬

                                                     ‫[ ماتوا يا زلمة‬                   ‫‪[ - 12:19‬‬

                                               ‫[ من معي؟ من؟‬                           ‫‪] - 12:22‬‬

                                                      ‫] أبو عمر‪ ،‬أبو عمر!‬              ‫‪[ - 12:23‬‬

                                                    ‫[ أبو عمر؟‬                         ‫‪] - 12:25‬‬

                                                                                      ‫‪ - 12:26‬اه‬

                                                    ‫[ أبو عمر؟‬                         ‫‪[ - 12:27‬‬

                                                                    ‫[ اه اه اه‬          ‫‪- 12:28‬‬

 ‫[البيت انضرب يا أبو عمر‪ ،‬الصحفية‪ ،‬في اتنين ماتوا ال تنشر الخبر‬                        ‫‪[ - 12:28‬‬

                                                        ‫[ ماتوا على األخر؟‬             ‫‪[ - 12:33‬‬

                                         ‫‪6‬‬
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             ‫] [كالم غير واضح] في واحد تاني معها مبارح إجا‬                       ‫‪[ - 12:34‬‬

                                                ‫] ماري ماتت اه‬                   ‫‪[ - 12:38‬‬

                                             ‫[ ماري تبع صنداي تايمز؟‬             ‫‪[ - 12:39‬‬

                                                        ‫‪] - 12:46‬أشخاص عبر سكيب[ اه‬

                                                  ‫] إنقصف البيت تابعنا‬           ‫‪[ - 13:09‬‬

                                            ‫] بربك‬                               ‫‪[ - 13:10‬‬

                                               ‫] في اتنين صحفيين ماتوا‬           ‫‪[ - 13:14‬‬

                           ‫] من هاي الكبيره بالعمر؟‬                              ‫‪[ - 13:15‬‬

                                   ‫] اه اه اه ‪ ،‬ماري ‪ ،‬تبع الصنداي تايمز‬         ‫‪[ - 13:23‬‬

                                           ‫] ماتت؟‬                               ‫‪[ - 13:25‬‬

                                                                 ‫] ماتت‬          ‫‪[ - 13:26‬‬

                                     ‫] وغيرها من؟‬                                ‫‪[ - 13:29‬‬

                                                             ‫] ما بعرف‬           ‫‪[ - 13:30‬‬

                                                             ‫] أبو حنين!‬         ‫‪[ - 13:38‬‬

                               ‫] أبو حنين صوروا هلق‪ ،‬صوروا صوروا!‬                ‫‪[ -13:43‬‬

                                ‫] الفضائي إتصوب؟‬                                 ‫‪[ - 13:51‬‬

                                                                    ‫] أل‬         ‫‪[ - 13:52‬‬

                                           ‫‪[ - 14:03‬أصوات عبر سكايب ال يمكن تمييزها]‬

                                                             ‫] في في‪...‬؟‬         ‫‪[ - 14:13‬‬

                                                                           ‫[كالم غير واضح]‬

                        ‫‪] - 15:50‬محادثة خطية عبر سكيب مع ”‪:[“Basma En-aljazara‬‬

                                                  ‫هلق فصل‬                           ‫‪Omar‬‬
                           ‫وضرب القذائف علينا شغال في حدي‬
    ‫عم ينتقلوا علغرفة لجوا صاروخ جانب االب توب صوت قوي كتير‬
                                     ‫‪7‬‬
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                                ‫ال تنشري بس في صحفيين ماتوا‬
                                               ‫هلق ردوا علي‬

                                                          ‫شو!!!!‬               ‫‪Basma‬‬

                 ‫[غير واضح] الصنداي تايمز و‪ -‬في صحافي تاني‬                      ‫‪Omar‬‬
                                                      ‫ماري‬
                                                ‫بس ال تنشري‬

                                            ‫ماتوا؟ أكيد هل حكي‬                 ‫‪Basma‬‬

                                         ‫و ما يعرف من متصاوب‬                    ‫‪Omar‬‬

                                                      ‫ما راح أنشر‬              ‫‪Basma‬‬

                                                    ‫من الشباب‬                   ‫‪Omar‬‬
                                              ‫لسا بركي يسعفون‬

                                                       ‫!!يا ربي‬                ‫‪Basma‬‬
                                           ‫يعني ممكن ما ماتو؟؟؟‬

                                       ‫ما بعرف قالولي ال تنشر‬                   ‫‪Omar‬‬
                                     ‫لهلق محصورين جوا البيت‬


                                                      ‫[أصوات عبر سكايب ال يمكن تمييزها[‬

                               ‫] يا شباب عجلوا عجلوا‬                         ‫‪[ - 16:54‬‬

                      ‫] أبو عمر [كالم غير واضح]‬                              ‫‪[ - 16:55‬‬

                              ‫‪] - 17:06‬صوت في خلفية مكالمة سكايب يبدو وكأنه انفجار[‬

                         ‫] اي طابق اللي اكل القذيفة‬                          ‫‪[ - 17:15‬‬

                                                                    ‫] اول‪.‬‬   ‫‪[ - 17:16‬‬

                                          ‫] اه اه بس أخدوا كذا صاروخ‪.‬‬        ‫‪[ - 17:20‬‬

                                     ‫‪8‬‬
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